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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK                                         :   1   ELECTRONICALLY FILED                 .
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N.T.C.   et~


                  Plaintiffs,

         -v-

US Immigration and Customs Enforcement et
al.,

                 Defendants.

-------------------------------------------------------x
                                                     ORDER


                This case, in which the Complaint was filed in Chambers of the undersigned this
evening, came before the Court on Plaintiffs' application for an order to show cause as to why
injunctive relief ought not to be entered, with an application for a temporary restraining order.
The Court reviewed the complaint, Plaintiffs' memorandum of law, declarations and exhibits and
proposed order to show cause, and heard representations and arguments from counsel for
Plaintiffs and counsel for the government Defendants. The Court having determined that limited
injunctive relief is warranted based on Plaintiffs' representations that minor children who have
been forcibly separated from their parents, are in New York in the custody of the federal Office
of Refugee Resettlement ("ORR") and have been referred for representation by the Legal Aid
Society have been, and are expected to be, removed from New York without notice to their
counsel and thereby deprived of the ability to receive legal advice and consult with counsel
regarding their rights to make applications for asylum and enforce other substantive rights, and
prosecute such claims and applications on their own behalf, and that parents are being solicited
to consent on behalf of such children to removal without due process, and in order to afford the
parties time to make further factual and legal investigations and to afford the judge to whom this
case will be assigned tomorrow time to hold necessary proceedings, it is hereby

                ORDERED, that Defendants ARE HEREBY RESTRAINED from taking any
action to remove minor children clients of the Legal Aid Society from New York State who are
in ORR custody without providing forty-eight (48) hours' advance notice of such forthcoming
action to children and their counsel (including, without limitation, the location to which the
minor child client will be moved, the location where the child's parent or parents currently
reside, and whether the movement is for the purpose of release, detention, and/or repatriation), in
order to permit consultation among the child, the child's parent or other close family member(s),
and counsel to protect the child's ability to make informed decisions about his or her legal rights
and potential claims. It is further




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               ORDERED, that the injunction set forth in the foregoing paragraph is in effect
from the time of issuance of this order until 10:00 a.m. on Thursday, July 19, 2018, subject to
extension, other modification or vacatur by further order of the assigned judge. It is further

               ORDERED, that Plaintiffs' counsel shall deliver to Defendants' counsel a list of
the names of the client children by 9:00 a.m. on Tuesday, July 17, 2018, and that, pending such
delivery, Defendants shall assume that all minor children in New York in ORR custody who
have been forcibly separated from their parents are clients of the Legal Aid Society. It is further

               ORDERED, that no bond is required. It is further

               ORDERED, that Plaintiffs shall file their Complaint in the office of the Clerk of
Court by 9:30 a.m. on Tuesday July 17, 2018, and promptly inform Defendants' counsel of the
name of the assigned judge.

               SO ORDERED.

Dated:         New York, New York
               July 16, 2018
               Issued: 9: 15 p.m.


                                              L~
                                              United States District Judge
                                              Part I




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